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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 RYANAIR DAC,

                         Plaintiff/Counterclaim
                         Defendant,                         C.A. No. 1:20-cv-01191-WCB
                 v.

 BOOKING HOLDINGS INC., et al.,

                         Defendants,

                 and

 BOOKING.COM B.V.,

                         Counterclaim Plaintiff.

                                       [PROPOSED] ORDER

        This order supplements the previous scheduling orders in this case, Dkt. Nos. 46, 56, 117, and

393. Pursuant to the May 31, 2024 telephone conference with the Court, the Parties stipulate to the

revised deadlines below:

                  Pretrial Item                                          Date
 Parties exchange exhibit lists and deposition
 designations for witnesses to be called by
                                                                     June 10, 2024
 deposition and exhibit lists.

 Parties provide the court with a list of remaining
 disputes over the admissibility of trial exhibits
 and deposition designations and the electronic
 copies of those exhibits and deposition
 designations, after meeting and conferring to
                                                                     June 18, 2024
 reduce the number of disputes.


 Parties file joint pretrial conference statement,
 motions in limine, jury instructions, proposed                      July 1, 2024
 verdict form, and voir dire questions.
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                 Pretrial Item                                      Date
 Court conducts an off-the-record meeting on
 trial exhibits and deposition designations.
                                                            Week of July 8, 2024
 (by Zoom)

 Final Pretrial Conference (by Zoom)                    July 8, 2024 at 2:00 p.m. EDT

 Trial                                                     July 15 – July 19, 2024



         IT IS SO ORDERED.

SIGNED this _________ day of ________________________, 2024.



                                               WILLIAM C. BRYSON
                                               UNITED STATES CIRCUIT JUDGE




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Dated: May 31, 2024

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